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 3 Ph. 916-442-5230
 4
   Attorney for:
 5 ANTHONY WILLIAMS
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 8
 9                            IN THE UNITED STATES DISTRICT COURT

10                               EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                            CASE NO. 2:11-cr-00353 MCE
13                                Plaintiff,              STIPULATION AND ORDER
                                                          CONTINUING JUDGMENT
14   v.                                                   AND SENTENCING OF
                                                          DEFENDANTS McCLENDON
15   SEAN McCLENDON, et. al.,                             AND WILLIAMS
16                                Defendants,
17
18                                              STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, JEAN M. HOBLER,
20
     defendant SEAN McCLENDON, by and through his counsel of record, DONALD H. HELLER, and
21
     ANTHONY WILLIAMS, by and through his counsel of record, SCOTT N. CAMERON, hereby
22
     stipulate as follows:
23
24              1. By previous order, this Court set the date for judgment and sentencing of defendants

25                  SEAN McCLENDON and ANTHONY WILLIAMS for March 20, 2014.

26              2. By this stipulation, the parties now move this Court for an order setting the date for
27                  judgment and sentencing of defendants McCLENDON and WILLIAMS for April 24,
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                    2014.
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                3. Both defendants McCLENDON and WILLIAMS are continuing to cooperate with the
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 3                  government and their sentencing should not occur until the pending trial against the

 4                  remaining defendant has concluded.
 5              4. The trial of the remaining defendant is presently set to commence on March 3, 2014.
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                5. To date, as to defendants McCLENDON and WILLIAMS, the matter has not been
 7
                    referred to the U.S. Probation Department for a Presentence Investigation Report. As
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                    such, the parties move this Court for an order that, as to defendant McCLENDON and
 9
10                  WILLIAMS, the matter be referred to the U.S. Probation Department for a

11                  Presentence Investigation Report with the following disclosure schedule:

12
                    Proposed Presentence Report:                        March 13, 2014
13
14                  Counsel's Written Objections to Probation:          March 27, 2014

15                  Presentence Report Filed with the Court:            April 3, 2014

16                  Motion for Correction to Presentence Report:        April 10, 2014
17
                    Reply or Statement of No Opposition:                April 17, 2014
18
                    Judgment and Sentencing:                            April 24, 2014
19
            The parties have authorized the defense counsel for Anthony Williams to sign this stipulation
20
     on their behalf.
21
22          IT IS SO STIPULATED.

23
            DATED: January 27, 2014                              BENJAMIN WAGNER
24                                                               United States Attorney
25
                                                          by     /s/ Jean M. Hobler
26                                                               JEAN M. HOBLER
                                                                 Assistant U.S. Attorney
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           DATED: January 27, 2014
 1                                              by   /s/ Donald H. Heller
                                                     DONALD H. HELLER
 2
                                                     Counsel for SEAN McCLENDON
 3
           DATED: January 27, 2014
 4                                              by   /s/ Scott N. Cameron
                                                     SCOTT N. CAMERON
 5                                                   Counsel for ANTHONY WILLIAMS
 6
 7                                      ORDER

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           IT IS SO ORDERED.
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     Dated: February 4, 2014
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